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- UNITED STATES DISTRICT COURT * :
EASTERN DISTRICT OF NEW YORK 2x0
: MEMORANDUM & ORDER
IN RE HABEAS CORPUS CASES WITH DIRECTIONS TO
: SPECIAL MASTER

03-MISC-66 (IBW)

JACK B. WEINSTEIN, Senior District Judge:

The 478 habeas corpus cases listed in the attached document have just been reassigned to
me.

Marc Falkoff has been appointed by Chief Judge Edward R. Korman and by me as
Special Master for the disposition of these cases. Mr. Falkoff holds a J.D. from Columbia Law
School, a Ph.D. from Brandeis University, an M.A. from the University of Michigan, Ann Arbor,
and a B.A. from the University of Pennsylvania. He has served as a judicial clerk in the United
States Court of Appeals for the Tenth Circuit and in the United States District Court for the
Eastern District of New York. The cases will be decided by me. The Special Master will assist
with reports and studies as I direct. He is instructed to approach these cases as follows:

1. These are collateral attacks on judgments of New York State courts, which have a
justifiable reputation for protecting defendants’ substantive and due process rights.
Constitutional errors may have been made. They will be addressed.

2. Petitioners are entitled under due process and the rule of law to a prompt disposition
of their cases. Delay may constitute a denial of due process, particularly since it may result in

unjustified prison detention.
 

3. In expediting dispositions, the court should consider the psychic costs that result from
delays in disposition for a class of generally poor, uneducated and unrepresented prisoners.
Usually they are incarcerated far from their families. Many await a court decision without any
explanation for any delays. Except in unusual cases, petitioners are entitled to be heard by the
court, at least by telephone.

4, It would be desirable for counsel to be assigned for each petitioner. This is
impossible. There is no right to counsel in this type of collateral attack. The Eastern District
habeas corpus Criminal Justice Act panel and pro bono panel are insufficient in size to provide
counsel for more than a very small fraction of the pending cases.

5. There will be an appreciable burden on the District Attorneys who must respond to a
large number of cases quickly. This burden cannot justify further delays.

6. Deciding such a large number of cases will probably lead to a surge of appeals to the
court of appeals for the Second Circuit. Certificates of appealability should not be unnecessarily
granted. They should be provided only where warranted by the law and the facts. Where a
petitioner requests, a notice of appeal should be filed on his or her behalf. Prosecution of any
appeal and applications in the court of appeals for certificates of appealability or for counsel on
appeal are not matters we can assist petitioners with.

7, All hearings will be conducted in public.

8. A short memorandum and order incorporating the court’s oral findings on the record
will normally be appropriate. The memorandum and order may cull from the briefs of either
party by paraphrase or direct quotation.

9, The court is not limited to the exact points made by petitioners, who are usually
 

   
   
  
  
  
  
  
  
   
  
   

- proceeding pro se.

10. The record should be searched to see whether a substantial issue has been overlooked
by petitioner. Such an error has to be weighed with the evidence of guilt and the total fairness of
the trial, as evidenced by the record and material de hors the record.

11. While evidentiary hearings should be kept to a minimum, if there is a substantial
federal issue, an evidentiary hearing should be held.

12. Burdening the state courts with unnecessary, repeated returns to exhaust should be
avoided. When consonant with law and the facts, a case should be shaped for final disposition

without additional collateral proceedings.

. _ (So. onDERED._ —— _/

 

S/JACK B. WEINSTEIN

Jack B. Weinstein
(/ Senior District Judge

Dated: May 1, 2003
Brooklyn, NY

 
 

Pending State Habeas Cases Reassigned to Judge Weinstein

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Kolb v, Goord

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Ross v. Artuz
Mohamed v. Portuondo
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Majid v. Portuondo
Morgan v. Portuondo
Hartfield v. Costello
Golden v. Artuz

Santos v. Artuz

Garcia, et al v. Dufrain
Farmer v. Vacco

Duren v. Bennett
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Bowers v. Greiner
Walker v. Strack
Hoffman v. Kuhlmann
Rolling v. Johnson
Vega v. Portuonds, et al
Smith y. Keane

Benn v. Greiner

Bowe v. Lord

Clark v. Kuhimann
Dominick v. Greiner
Lake v. Greiner

Evans v. Senkowski
Oyague v. Artuz
Gordon v. Mantello
Jenkins v. Artuz
Burton vy. Stinson
Bravo vy. Couture
 

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Waters v. McGinnis
Brisbane v. Greiner
Dickman v. Herbert

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Watson v. David

Rios v. Artuz

Morales y. Stack

Martinez, et al v. Senkowski
Sheperd v. Portunda
Matthews v. Greiner

Goins v. David

Samuel v. Miller

Custodio v. Duncans

Fagan v. Kuhlmann
Michalek y. Artuz
Eisenmann v. Herbert
Spence v. Greiner

Whitfield v. Artuz

Lyons v. Leonardo

Reyes v. Irwin

Winslow v. Portundo
Martinez v. Greiner

Davis v. Warden Clinton Corr. Facility
Jacobs v. Miller

Smith v. Greiner

Jones vy. Kuhlmann

Valle v. Greiner

Harvey v. Walker

Olivencia v. Berbary
Hannigan v. Comm. of Correctional
Keeling, et al v. Nassau Cty Supreme Court
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Powell, et al v. Senkowski
Blasich v. Belfi, et al

Gayle v. Hogan

Longshore vy. Strack
Velasquez v. Mantello
McCray v. State of New York
Cox v. Dinnelly
 

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Thom v. Artuz
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Green, et al v. Mazzula
Davis, et al v. Johnson
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Lopez v. Walker
Faison v. Mantello
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Washington v. Artuz
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Springs v. Walsh
Maldonado v. Artuz
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Andujar v. Mantello
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Mendez v. O’ Keefe
Hinds v. Ricks
Jimenez v. Walker
Jackson v. NY State
 

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Cunningham v. Poole
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Grant v. Ricks

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Bartley v. Senkowski
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Brown v. Walker
 

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Sosa v. Breslin

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Kitnurse y. Duncan
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Blandon v. Fischer
Finger v. Walker
Edmonds vy. Miller
Monroe v. Kuhlman
Bond v. Walsh
Donovan vy. Levine
Hunter v. Filion
Rivera v. Greiner
Carolan v, Miller
Alexander v. Greiner
Cole v. Greiner
Youmans v. Fischer
Gibbs v. Greiner
Belezza v. Fischer
Gold v. Fischer
Woods v. Miller
Grieco v. Goord
Wilson v. Breslin
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Sanchez v. Greiner
Floyd v. Miller

Tang v. Greiner
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Coleman v. Ricks
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Cruz v. McGauane, et al
Royster v. Senkowski
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Gooden v. Fischer
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Singletary v. Fischer

Moore v. Dillon

Ramirez v. Portuondo

Runnon y. Miller et al

King v. Hodges

Hamilton v. Herbert

Kinloch v, Greiner

Goldberg v. Tracy

Gonzalez v. Fischer

Delgado v. Duncan

Scott v. Bednosky

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Wood v. Duncan

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Hardy v. Bennett

Fernandez v. Bennett
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Rivera v. Bennett el al

Harrison v. Shannon

White v. Herbert

Thompson v. Fischer

Wynter v. Burge

Burnett v. Greiner

Douglas v. Mazzuca

Flowers v. McCoy

 
 

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Henry v. Poole

Clifford v. Keane

Lyons v. Girdich

Soto v. Miller

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Phillips v. Bennett

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Peggs v. Reilly

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Greene v. Fischer

Owens v. Rivera

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Dicks v, Ekpe

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Rosero v. Burge

Taus v. Senkowski

Ato v. Bednosky

Hinton v. Fischer

Gssime v. Greiner

 
 

 

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Guerier vy. Arnets
Gren v. Greiner et al
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Mungo v. Duncan
White v. Smith
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Filsaime v. Smith
Green v. Travis et al
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Ciatto vy. Senkowski

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